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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE STEPHEN ALEXANDER VADEN, JUDGE
__________________________________________
                                           :
UNITED STATES OF AMERICA                   :
                                           :
                         Plaintiff,        : Court No. 20-03628
                                           :
                   v.                      :
                                           :
AEGIS SECURITY INSURANCE CO.,              :
                                           :
                         Defendant.        :
                                           :

                                            ORDER

       Upon reading Customs Surety Coalition’s motion for leave to appear as amicus curiae,

and the plaintiff, the United States of America’s, opposition thereto; and upon consideration of

other papers and proceedings had herein, it is hereby

       ORDERED that Customs Surety Coalition’s motion be, and hereby is DENIED.



                                              _____________________________
                                                 Stephen Alexander Vaden, Judge

Dated: __________________
       New York, New York
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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE STEPHEN ALEXANDER VADEN, JUDGE
__________________________________________
                                           :
UNITED STATES OF AMERICA,                  :
                                           :
                  Plaintiff,               : Court No.: 20-03628
            v.                             :
                                           :
AEGIS SECURITY INSURANCE CO.,              :
                                           :
                  Defendant.               :
_________________________________________ :

    PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO THE CUSTOMS
    SURETY COALITION’S MOTION FOR LEAVE TO FILE AN AMICUS CURIAE
                   BRIEF IN SUPPORT OF DEFENDANT


       Plaintiff, the United States of America (the Government), respectfully submits this

memorandum of law in opposition to the Customs Surety Coalition’s (CSC) motion for leave to

file an amicus curiae brief in support of defendant, Aegis Security Insurance Company’s

(Aegis), motion for judgment on the pleadings. Although we do not normally oppose such

requests, CSC’s motion for leave was not filed within the time prescribed by the rules of this

Court, which foreclosed the United States from responding to the amicus through the normal

course of briefing. According, the motion should be denied.

       Pursuant to United States Court of International Trade (USCIT) Rule 76 “[a]n amicus

curiae must file its brief within the time allowed the party whose position the amicus curiae brief

will support unless the court for cause shown grants leave for later filing.” We interpret this rule

to require that CSC filed this motion for leave within the time Aegis was allotted to respond to

the Government’s cross-motion for summary judgment, which expired on April 5, 2021.

Instead, CSC filed the instant motion on May 14, 2021 after all briefing on this matter was
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completed. In addition, CSC fails to demonstrate “cause” as to why their untimely motion

should be granted as required by USCIT Rule 76.

       Had CSC filed its motion for leave in a timely manner, the Government would have had

the opportunity to respond to the substantive arguments within CSC’s amicus curiae brief in its

reply memorandum of law filed with the Court on April 23, 2021. Without this opportunity, the

Government is prejudiced. Thus, the Court should deny CSC’s motion for leave to file an

amicus curiae brief for failure to comply with USCIT Rule 76. Alternatively, if the Court grants

CSC’s motion for leave, the Government respectfully request an opportunity to respond to the

substantive arguments advanced in CSC’s amicus curiae brief.

                                            Respectfully submitted,

                                            BRIAN M. BOYNTON
                                            Acting Assistant Attorney General
                                            JEANNE E. DAVIDSON
                                            Director
                                            /s/ Justin R. Miller
                                     By:    JUSTIN R. MILLER
                                            Attorney-In-Charge
                                            International Trade Field Office

                                            /s/ Peter A. Mancuso
                                            PETER A. MANCUSO
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Of Counsel:
SUZANNA HARTZELL-BALLARD
Office of the Assistant Chief Counsel
U.S. Customs and Border Protection
Dated: May 19, 2021

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